     Case 2:15-cv-02458-JAM-EFB Document 20 Filed 11/23/16 Page 1 of 2

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 8                        UNITED STATES DISTRICT COURT

 9                       EASTERN DISTRICT OF CALIFORNIA
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11   JENNIFER SOSA, an individual,        No.   2:15-cv-02458-JAM-EFB
12                 Plaintiff,
13        v.                              ORDER GRANTING PLAINTIFF’S
                                          MOTION FOR ATTORNEY’S FEES AND
14   CROWNING POINT SOLUTIONS,LLC,        COSTS
     a limited liability company;
15   and DOES 1 through 10,
     inclusive,
16
                   Defendants.
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19        Jennifer Sosa (“Plaintiff”) was granted a default judgement

20   against Crowning Point Solutions, LLC, (“Defendant”) for

21   violations of the Federal Fair Debt Collection Practices Act and

22   the California Rosenthal Fair Debt Collection Practices Act. 1

23   ECF No. 14.    Now before the Court is Plaintiff’s unopposed Motion

24   for Attorney’s Fees and Costs.       After considering all matters

25   presented to the Court, the Court GRANTS Plaintiff’s Motion for

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27     This motion was determined to be suitable for decision without
     oral argument. E.D. Cal. L.R. 230(g). The hearing was
28   scheduled for November 1, 2016.
                                     1
     Case 2:15-cv-02458-JAM-EFB Document 20 Filed 11/23/16 Page 2 of 2

 1   Attorney’s Fees and Costs.      Defendant Crowning Point Solutions,

 2   LLC, is ordered to pay Plaintiff $4,629.95 in attorneys’ fees and

 3   costs:

 4        IT IS SO ORDERED.

 5        Dated:    November 23, 2016

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